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                               U N ITED STA TE S D ISTR IC T C O UR T
                               SO UTH ERN D ISTRICT O F FL O RID A

                               CASE NO.          -     '          -       --
                                            18U.S. .jj22514:)& (e)


 U NITED STA TES O F A M ER ICA



 ETEK A N TEIQIM ,

        D efendant.
                                       /

                                         IN FO R M A TIO N

        The U nited StatesA ttorney chargesthat:

        Beginning in or aboutAugust26,2020,and continuing through on or aboutAugust30,

 2020,in Brow ard County,in the Southem DistrictofFlorida,thedefendant,

                                        E TE K A N TEK IM ,

 did em ploy,use,persuade,induce,entice, and coerce a m inor,V ictim 1,to engage in sexually

 explicit conduct for the pup ose of producing a visualdepiction of such conduct,knowing and

 having reason to know that such visual depiction will be transported and transm itted using any

 m eans and facility ofinterstate and foreign com m erce,in violation ofTitle 18,U nited States Code, '

 Sections2251(a)and(e).
                                FO R FEITU RE ALL EG A TIO N S

               The allegations ofthis lndictm entare hereby re-alleged and by this reference fully

 incorporated herein forthe pup ose ofalleging forfeitureto theU nited StatesofA m erica ofcedain

 property in w hich the defendant,ETE K A N TE M M ,has an interest.

               U pon conviction of a violation of Title 18,United States Code, Section 2251,as

 alleged in this Indictm ent,the defendant shall forfeitto the U nited States,pursuant to Title 18,
Case 0:21-cr-60100-AHS Document 1 Entered on FLSD Docket 03/25/2021 Page 2 of 5


 UnitedSiatesCode,Section2253($:
              a.        Any visualdepiction described in Title 18,United States Code,Sections

              225.1,2251A ,or2252,orany book,m agazine,periodical,film ,videotape,orother

              m atlerw hich contains any such visualdepidion,w hich w as produced,transported,

              m ailed, shipped or reeeived in violation of Title 18,U nited States Code,Chapter

              110;

              b.        Atly property,realorpersonal,constituting ortraceable to grossprofitsor

              otherproceedsobtained from such offense;and

              c.        A tly property,realor personal,used or intended to be used to com m itorto

              prom otethecomm ission ofsuch offense orany propeo traceableto such property.

       AllpvlrsuanttoTitle 18,United StatesCode,Section 2253($ andtheproceduressetforth
 in Title 21,United States Code,Sedion 853,as incorporated by Title 18,United States Code,

 Section 2253(1$.

   N                '


 ARIANA AJARDO ORSHAN
 UN ITED STA TES A TTORN EY




 JOD IAN TON
 A SSISTAN T U .S.A TTO RN EY
  Case 0:21-cr-60100-AHS Document 1 Entered on FLSD Docket 03/25/2021 Page 3 of 5
                                           UN ITED STATES DISTRICT COURT
                                          SO UTH ERN DISTRICT O F FLORIDA

UNITED STATES OF AM ERICA                              CASENO.2 - J /> .V
                                                       C ERTIFICATE O F TRIA L ATTO RNEY.
ETEKA NTEKIM ,
                                                       Superseding Caselnform ation:
                       Defendant              f

CourtDivijion:(selectOne)                              New defendantts)            Yes
       M lam l             K ey W est                  N umbçrofnew defendants
X      FTL                 W PB         FTP            Totalnumberofcounts

                 1have carefully consideredthe allegations ofthe indictment,the numberofdefendants,thenumberof
                 probablewitnessesand thelegalcomplexitiesofthe lndictment/lnformation attachedhereto.
                 l arp aware thatthe information supplied on this statementwillbe relied upon by the Judges ofthis
                 Courtin Setting theircalendars and scheduling criminaltrials underthe m andate ofthe Speedy Trial
                 Act,Title28 U.S.C.Section 3161.
       3.        lnterpreter:      (YesorNo)      No
                 Listlanguageand/ordialect
       4.        Thiscasewilltake 5 daysforthepartiesto try.
                 Please check appropriatecategoly andtype ofoffenselistedbelow :
                 (Checkonlyone)
                                                              (Checkonlyone)
       I         0 to 5 days                  X               Petty
       JI        6 to 10 days                                 M inor
       tII       11to 20 days                                 M isdem .
       Iv        21to 60 days                                 Felony             x
       v         61daysand over
       6.        HasthiscasepreviouslybeentiledinthisDistrictCoul't?           (YesorNo)     N0
         Ifyes:Judge                                   CaseNo.
         (Attachcopyofdispositiveorder)
         Hasacomplaintbeent'iledinthismatter?          (YesorNo)          N0
         Ifyes:M agistrate CaseNo.
         Relatedm iscellaneousnum bers:
         Defendantts)infederalcustodyasof
         Defendantts)instatecustodyasof                Seotember8.2020
         Rule20 from theDistrictof
         Isthisapotentialdeathpenaltycase?(YesorNo)              No
                 D oesthiscaseoriginate from a matterpending in theCentralRegion ofthe U.S.Attorney'sOffice
                 priortoAugust9,2013(M ag.JudgeAlicia0.Valle)?                 Yes           No X
       8.        D oesthiscaseoriginate from a matterpending in theNorthern Region oftheU.S.Attorney'sOffice
                 priortoAugust8,2014(M ag.JtldgeShaniekM aynard)?              Yes           No X
                 D oesthiscaseoriginate from a matterpending inthe CentralRegion oftheU.S.Attorney'sOffice
                 priortoOctober3,2019(M ag.JudgeJared Strauss)?                Yes           No z

                                                               t
                                                              JODIANTON
                                                               CourtNo.A5501753

 *penaltySheetts)atlached                                                                             REV 6/5/2020
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                               UN ITED STATES D ISTR ICT CO UR T
                               SO UTH ERN DISTR ICT OF FLO RIDA

                                            PEN ALTY SHEET
   Defendant's Nam e:EYYK A WTEK IM

   Case N o:

   Count
    Production ofChild Pornography

    18U.S.C.j2251(a)and(e)
                   30 years'imprisonmentwithaminimum mandatory term of15years'imprisomnent;aterm ofsupelwised
   +(
    u axopenalty:FCICaSCOfatleast5years'anduptoamaximum term oflife;$250,000fine

   Count #:




   *M ax.Penalty:

   Count #:




   SrM ax.Penalty:

   Count




   *M ax.Penalty:




    frR efersonly to possible term ofincarceration,does notinclude possible fines,restitution,
             specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
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AO455(Rev.01/09)W aiverofanlndictment

                                U NITED STATES D ISTRICT COURT
                                                    forthe
                                           SouthernDistrictofFlorida

               United StatesofAm erica                )                                                   s
                     Eteka Ntekim ,
                                                      ) casexo.k p-joywz-y
                                                      )
                                                      )
                                         W AIVER OF AN INDICTM ENT

       1understandthatIhavebeen accused ofoneorm oreoffensespunishableby imprisonmentformorethan one
year. lwasadvised in open courtofmy rightsandthenatureoftheproposed chargesagainstme.

       Afterreceiving thisadvice,1waivemy rightto prosecution by indictmentand consentto prosecution by
infonnation.                      '




                                                                             Defendant'
                                                                                      ssignature




                                                                       Printednameofdefendant'
                                                                                             sattorney




                                                                          Jttdge'
                                                                                sprintednameand title
